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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                           Plaintiff,                            ORDER
  v.
                                                         Case No. 20-cr-56-wmc
BONNIE DENNEE,

                           Defendant.


       The defendant in the above-entitled case has been:

                convicted of the charge against him and no appeal is pending.
          ☒     Therefore, it is directed that the passport be transferred to the U.S.
                State Department.

                The State Department is not to reissue a passport without approval
                of U.S. Probation while the defendant remains on supervision.

                convicted of the charge against him and no appeal is pending.
          ☐     Therefore, it is directed that the passport be transferred to the ICE
                Regional Office in Milwaukee, Wisconsin.

                acquitted of the charge against him and/or the charge against him
          ☐     has been dismissed. Therefore, it is directed that the passport be
                returned to the defendant or his authorized representative.

                Defendant is deceased. Therefore, it is directed that the passport be
          ☐     returned to the State Department.


       Signed this 29th day of September, 2021.


                                        BY THE COURT:

                                        _/s/_____________________________
                                        STEPHEN L. CROCKER
                                        Magistrate Judge
